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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                 COLUMBUS DIVISION

PEED BROS., INC.,                               *

       Plaintiff,                               *

vs.                                             *
                                                             CASE NO. 4:11-CV-86 (CDL)
MARTIN      MARIETTA          MATERIALS, *
INC.,
                                                *
       Defendant.
                                                *

                                          O R D E R

       This action arises from problems with Plaintiff Peed Bros.,

Inc.’s     construction        of     a    road        in     Macon     County,    Georgia.

Plaintiff    seeks       to   hold    Defendant         Martin      Marietta      Materials,

Inc.   legally         responsible        in    part    for       the   problems     because

Defendant allegedly supplied                   Plaintiff with defective product

that formed the base of the road underlying the asphalt surface.

Plaintiff       sued    Defendant     for       breach       of    contract,      breach   of

express warranty, and breach of implied warranties.                                Defendant

responds that the product it supplied was not defective when

delivered and that no evidence exists that Defendant’s product

caused    the    problems      with       the       road.      Furthermore,        Defendant

contends     that       it    disclaimed         all        implied     warranties,     that

Plaintiff accepted the product, and that Plaintiff failed to

revoke acceptance in a timely or effective manner.                                Defendant

maintains that all of these issues must be decided as a matter
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of law and has filed a motion for summary judgment (ECF No. 25).

Plaintiff argues that genuine factual disputes exist for trial

and thus opposes Defendant’s motion for summary judgment.

      In support of its claims, Plaintiff relies in part on the

testimony of a professional geotechnical roadway engineer, Robin

Webb, and a geotechnical roadway technician, Willie Goad.                               A

reasonable     interpretation         of    their     testimony         based   on    the

present     record    is    that    the    base    surface    of     the    roadway   in

question was contaminated with materials that caused the base to

be defective and that the defective base material contributed to

the failure of the road surface.                  Defendant filed a motion (ECF

No.   19)   seeking    to    exclude       this    testimony      under     Daubert   v.

Merrell Dow Pharm., Inc., 509 U.S. 579 (1993).                           Based on the

present     record,    the       Court     finds    that    these       witnesses     are

qualified    to   give     the     opinions     relied     upon    by    Plaintiff    in

opposition to Defendant’s motion for summary judgment and that

those opinions are sufficiently reliable to be considered in

deciding     Defendant’s      summary       judgment       motion.         Accordingly,

Defendant’s motion to exclude their testimony is denied.1


1
  Defendant also filed a motion to exclude the testimony of Christina
Lopano or other associates of RJ Lee Group, Inc. based upon
Plaintiff’s failure to disclose their expert opinions as required by
the Federal Rules of Civil Procedure, the Court’s Local Rules, and the
Scheduling Order (ECF No. 20). The Court grants this motion; however,
this ruling does not prevent Plaintiff from admitting any reports
prepared by Lopano and/or the RJ Lee Group, Inc. that were disclosed
during the discovery period if those reports are admissible through
some means other than the expert testimony of Lopano or an associate


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     Having thoroughly reviewed the present record, including

direct    and    circumstantial   evidence,       and    after    construing   all

reasonable inferences in Plaintiff’s favor, Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 255 (1986), the Court finds that

genuine    factual    disputes    exist    on   the     following    issues:   (1)

whether the materials supplied by Defendant that were used for

the base of the road were defective when delivered; (2) whether

the allegedly defective nature of the materials constituted a

breach of the contract between the parties; (3) whether the

materials contributed to the failure of the roadway; (4) whether

Defendant       effectively   disclaimed    all    implied       warranties;   (5)

whether Plaintiff failed to revoke acceptance of the materials

in a timely and/or effective manner; and (6) whether Defendant

breached any express and/or implied warranties.                     Accordingly,

Defendant’s motion for summary judgment is denied.                   Fed. R. Civ

P. 56.2




of the RJ Lee Group. Moreover, this ruling does not preclude the non-
expert testimony of Lopano to the extent that it relates to the
reports previously supplied during discovery.
2
  The abbreviated nature of today’s Order is necessary in order for
this case to be scheduled for trial during the Court’s next trial term
beginning March 4, 2013, which requires that a pretrial conference be
scheduled for the week of February 4, 2013.    Although the Court has
spent substantial time reviewing the record, researching the law, and
considering the motions, the Court did not find it wise to delay a
ruling in the case until a lengthy publishable order could be prepared
and refined.


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                              CONCLUSION

     For the reasons set forth above, Defendant’s Motion for

Summary Judgment (ECF No. 25) is denied.         Defendant’s Motion in

Limine to Preclude Expert Testimony of Robin Webb and Willie

Goad (ECF No. 19) is denied, and Defendant’s Motion in Limine to

Preclude   Expert   Testimony     of   Christina     Lopano    or     Other

Associates of RJ Lee Group, Inc. (ECF No. 20) is granted.


     IT IS SO ORDERED, this 20th day of December, 2012.

                                       S/Clay D. Land
                                                CLAY D. LAND
                                        UNITED STATES DISTRICT JUDGE




                                   4
